                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

      Mauricia Harrington-Wall,       )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )             3:19-cv-00366-FDW-DSC
                                      )
                 vs.                  )
                                      )
           Martel Harrison            )
         City of Monroe, NC,
            Defendant(s).             )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 20, 2020 Order.

                                               October 20, 2020




     Case 3:19-cv-00366-FDW-DSC Document 23 Filed 10/20/20 Page 1 of 1
